IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

DONNELL MITCHELL, x Civil Action No, 2:19-cv-03843-CDJ
Plaintiff,
Vv.

NATIONAL RAILROAD PASSENGER
CORPORATION, a/k/a “AMTRAK”

and

JENNIFER HAKEN-LAFTY c/o NATIONAL :
RAILROAD PASSENGER CORPORATION, :
a/k/a “AMTRAK” ;

and

MARIA FAULKNER c/o NATIONAL :
RAILROAD PASSENGER CORPORATION, :
a/k/a “AMTRAK” ;

and
ANGELA SCHIAVELLO c/o NATIONAL g
RAILROAD PASSENGER CORPORATION, :
a/k/a “AMTRAK” :

Defendants. x

 

CORPORATE DISCLOSURE STATEMENT

Please check one box:

Oo The non-governmental corporate party, National Railroad Passenger Corporation

(“Amtrak”), in the above-listed civil action does not have any parent corporation and

publicly held corporation that owns 10% or more of its stock.

4811-3933-9179v.1
The non-governmental corporate party, National Railroad Passenger Corporation
(‘Amtrak’), in the dovetinca civil action has the following parent corporation(s) that
owns 10% or more of its stock:

Amtrak is a District of Columbia corporation that was authorized to be created by the Rail
Passenger Service Act, 49 U.S.C. §24101 et seq.

Amtrak has no parent corporation. It has two wholly owned subsidiaries: Passenger
Railroad Insurance Limited (“PRIL”) and Washington Terminal Company (“WTC”).

The United States holds, through the U.S. Secretary of Transportation, 100% of Amtrak's
preferred stock (109,396,994 shares at $100 par value). Amtrak's common stock (9,385,694 shares
at $10 par value) is held by American Premier Underwriters, Inc. (55.8%; a wholly owned, not
publicly traded, subsidiary of American Financial Group, Inc., which is publicly traded),
Burlington Northern and Santa Fe LLC (35.7%; BNSF LLC is a wholly-owned, not publicly
traded, subsidiary of Berkshire Hathaway, which is publicly traded, Canadian Pacific Railway

(6.3%), and Canadian National Railway (2.2%). None of Amtrak's stock is publicly traded.

 
   

BY:
ew P. Strauskulage, Esq.
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Attorneys for Defendants Jennifer Haken-Lafty,
Maria Faulkner, Angela Schiavello and National
Railroad Passenger Corporation ("Amtrak")

Dated: October 31, 2019

4811-3933-9179v.1
